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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

MARK ANTHONY ORTEGA,                                     §
    Plaintiff,                                           §
v.                                                       §       Case No. 5:24-cv-00838-FB
                                                         §
LOUIS AMBROSIO AND BLOCK EQUITY                          §
GROUP, LLC                                               §
     Defendants.                                         §

                              PROPOSED SCHEDULING ORDER

         The disposition of this case will be controlled by the following schedule:


       1.      The parties shall complete ADR in compliance with Local Rule CV-88, by May
30, 2025 . A motion objecting to ADR must be filed no later than March 31, 2025 (at least 60
days before that deadline).

       2.     The parties asserting claims for relief shall submit a written offer of settlement to
opposing parties by February 15, 2025, and each opposing party shall respond, in writing, by
March 1, 2025.

       3.       The parties shall file all motions to amend or supplement pleadings or to join
additional parties by March 31, 2025.

       4.       All parties asserting claims for relief shall file their designation of testifying experts
and shall serve on all parties, but not file, the materials required by Fed. R. Civ. P. 26 by July 31,
2025. Parties resisting claims for relief shall file their designation of testifying experts and shall
serve on all parties, but not file, the materials required by Fed. R. Civ. P. 26 by August 28, 2025.
All designations of rebuttal experts shall be designated within 14 days of receipt of the report of
the opposing expert.

        5.     An objection to the reliability of an expert’s proposed testimony under Federal Rule
of Evidence 702 shall be made by motion, specifically stating the basis for the objection and
identifying the objectionable testimony, within 30 days of receipt of the written report of the
expert’s proposed testimony, or within 30 days of the expert’s deposition, if a deposition is taken,
whichever is later.

      6.     The parties shall complete all discovery on or before October 31, 2025. Counsel
may by agreement continue discovery beyond the deadline, but there will be no intervention by


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the Court except in extraordinary circumstances, and no trial setting will be vacated because of
information obtained in post-deadline discovery.

       7.     All dispositive motions shall be filed no later than December 5, 2025. Dispositive
motions and responses to dispositive motions shall be limited to 20 pages in length in accordance
with Local Rule CV-7. Replies, if any, shall be limited to 10 pages in length.

        8.       The trial date will be determined at a later date by the Court. The parties shall
consult Local Rule CV-16 regarding matters to be filed in advance of trial. At the time the trial
date is set, the Court will also set the deadline for the filing of matters in advance of trial.

                                             Respectfully submitted,

                                             Plaintiff:
                                             /s/ Mark Ortega (with permission)
                                             Mark Ortega, Plaintiff pro se

                                             -AND-

                                             MUNSCH HARDT KOPF & HARR, P.C.

                                             By: /s/ Michael A. Harvey
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                               CERTIFICATE OF SERVICE

        Pursuant to Rule 5 of the Federal Rules of Civil Procedure, the undersigned counsel for the
Defendants certify that the foregoing document has been filed with the Court electronic case filing
system and served upon all known parties by e-service, first class mail, facsimile and/or certified
mail, return receipt requested on December 11, 2024.

       Mark Anthony Ortega, Pro Se
       P.O. Box 702099
       San Antonio, Texas 78270


                                                     /s/ Michael A. Harvey
                                                     Michael A. Harvey




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